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    8
                        UNITED STATES DISTRICT COURT FOR THE
    9
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
   10
   11
        FRANKIE MITCHELL;                         Case No. 2:20-cv-01789-MCS (AGR)
   12
                           Plaintiff,             PLAINTIFF’S MOTION IN LIMINE TO
   13         v.                                  EXCLUDE DEFENDANT’S
                                                  UNDISCLOSED HANDWRITING
   14   NEW YORK LIFE INSURANCE                   EXPERT
        COMPANY, a business entity, form
   15   unknown; and DOES 1 through 15,
        Inclusive;                                PRETRIAL CONF.: June 7, 2021
   16                                             TIME: 2:00 p.m.
                           Defendants.
   17                                             TRIAL: June 22, 2021
   18                                             Hon. Mark C. Scarsi, Judge Presiding
   19
   20                       NOTICE OF MOTION AND MOTION
   21         TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD,
   22         PLEASE TAKE NOTICE, that on June 7, 2021 at 2:00 p.m., in accordance
   23   with the Court’s Schedule of Pretrial and Trial Dates [Dkt. #24], pursuant to this
   24   Court’s Order of Pretrial and Trial dates, Plaintiff hereby gives notice and does so
   25   move, in this Motion in Limine, for an Order excluding Defendant’s undisclosed
   26   handwriting expert, as follows:
   27         Plaintiff has learned that Defendant New York Life Insurance Company
   28   seeks to offer testimony of a handwriting expert, James Blanco, at the trial of this

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    1   matter. This undisclosed expert had no involvement with the review of this claim.
    2   This testimony should be excluded by the Court because the proposed expert
    3   witness was not designated or exchanged timely, has not provided the required
    4   expert Declaration and disclosures as required by the Court’s Orders and the
    5   Federal Rules of Civil Procedure, and the proposed testimony seeks to determine
    6   the factual issue for the jury.
    7         This motion is pursuant to Federal Rule of Civil Procedure 37(1) and
    8   Federal Rule of Evidence 403, precluding Defendant New York Life Insurance
    9   Company from offering evidence from the proposed “handwriting expert” at all.
   10   This motion is made following the conference of counsel pursuant to L.R. 7-3,
   11   which took place on May 17, 2021.
   12         This motion is based on this Notice of Motion and Motion and the
   13   Memorandum of Points and Authorities contained herein, the pleadings and
   14   papers on file in this action, and the argument of counsel presented at the hearing
   15   on the motion.
   16
   17   DATED: May 17, 2021               ADEPT LAW FIRM
   18
   19                                           Joseph S. Fogel /s/
                                          By:
   20                                           JOSEPH S. FOGEL,
                                                Attorney for Plaintiff,
   21                                           FRANKIE MITCHELL
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    1                 MEMORANDUM OF POINTS AND AUTHORITIES
    2   1.    INTRODUCTION.
    3         Pursuant to Federal Rule of Civil Procedures 37(a) and Federal Rule of
    4   Evidence 403, Plaintiff Frankie Mitchell hereby submits this motion in limine to
    5   preclude Defendant New York Life Insurance Company from offering argument
    6   or evidence, or calling as a witness, the undisclosed handwriting expert James
    7   Blanco.
    8         Defendant has evidenced an intent to argue at trial, and bring as a witness,
    9   the handwriting -proposed expert of James Blanco.
   10         This Court Ordered expert disclosures on September 18, 2020, and that was
   11   continued to December 18, 2020, by Stipulation and Order of the Court. Judge
   12   John A. Kronstadt sitting, had set September 18, 2020 as the date for Initial Expert
   13   Disclosures. Based upon the Stipulation of Parties, and the National Emergency,
   14   on September 15, 2020, the Court ordered a new deadline of December 18, 2020.
   15   See Order Re Stipulation Re: Dates [Dkt.#19 Stipulation, Dkt.#21, Court orders of
   16   September 15, 2020]. Defendant has not provided an Expert Disclosure for Mr.
   17   Blanco.
   18         There being no expert disclosure and exchange, the proposed expert should
   19   not be a witness in the trial, and none of the opinons stated by the excluded
   20   witness should be heard at trial.
   21
   22   2.    DEFENDANT SHOULD BE PRECLUDED FROM ASSERTING THE
   23         HANDWRITING EXPERT AS A DEFENSE.
   24         Federal Rule of Civil Procedure 37(c)(1) states that if a party fails to
   25   provide information or identify a witness as required by Rule 26(a) or (e), then the
   26   party is forbidden to use that information or witness to supply evidence on a
   27   motion, at a hearing, or at a trial. “A party must disclose documents and the
   28   identity of witnesses likely to have discoverable information that the party may

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    1   use to support its claim. Fed. R. Civ. P. 26 (a)(1)(A)(i)-(ii). This is a continuing
    2   duty, and the disclosure must be supplemented if the party later learns of
    3   additional witnesses or responsive information. See Fed R. Civ. P. 26(e).” Fourth
    4   Investment LP v. United States of America, No. 08-cv-110, 2010 U.S. Dist. LEXIS
    5   53534, at *2 (S.D. Cal. June 1, 2020) (citing Hoffman v. Constr. Protective Servs.,
    6   Inc., 541 F.3d 1175, 1179 (9th Cir. 2008)). Rule 37 “gives teeth” to Rule 26 “by
    7   forbidding the use at trial of any information required to be disclosed by Rule
    8   26(a) that is not properly disclosed.” Yeti by Molly, Ltd. v. Deckers Outdoor
    9   Corp., 259 F.3d 1101, 1106 (9th Cir. 2001).
   10         Here, Defendant has never identified Mr. Blanco as an expert witness in this
   11   case. No handwriting expert is mentioned in the Defendant’s disclosures, and
   12   there is no Expert Disclosure. There is no subsequent expert designation by
   13   Defendant.
   14         Finally, any such argument or evidence would be confusing and misleading
   15   to the jury, and manifestly prejudicial, in light of Defendant’s earlier failure to
   16   name Mr. Blanco as an expert witness. See Fed. R. Evid. 403. As confirmed by a
   17   recent decision of the Supreme Court, Plaintiffs are entitled to rely upon–and
   18   should not have to relitigate at trial–facts that Defendant conceded on summary
   19   judgment. See Christian Legal Soc’y Chapter v. Martinez, 561 U.S. 661, 130
   20   S.Ct. 2971, 177 L.Ed.2d 838, (June 28, 2010) (facts conceded on summary
   21   judgment are considered established for purposes of trial); see also In re Katz
   22   Interactive Call Processing Patent Litg., No. 2:07-ML-0186, (at 69 (C.D. Cal.
   23   May 5, 2010) (in deciding motion for partial summary judgment, court determines
   24   material facts not genuinely at issue). Having admitted the contract, in the
   25   relevant undisputed material facts, those facts are not further litigated at trial.
   26
   27   3.    CONCLUSION.
   28         For the foregoing reasons, Defendant should be precluded at trial from

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    1   arguing or eliciting evidence that it has a handwriting expert, or what opinions that
    2   undesignated expert may have had.
    3
    4   DATED: May 17, 2021              ADEPT LAW FIRM
    5
    6                                          Joseph S. Fogel /s/
                                         By:
    7                                          JOSEPH S. FOGEL,
                                               Attorney for Plaintiff,
    8                                          FRANKIE MITCHELL
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